Case 9:19-bk-11573-MB   Doc 801 Filed 02/14/20 Entered 02/14/20 16:03:38   Desc
                         Main Document    Page 1 of 13
Case 9:19-bk-11573-MB   Doc 801 Filed 02/14/20 Entered 02/14/20 16:03:38   Desc
                         Main Document    Page 2 of 13
Case 9:19-bk-11573-MB   Doc 801 Filed 02/14/20 Entered 02/14/20 16:03:38   Desc
                         Main Document    Page 3 of 13
Case 9:19-bk-11573-MB   Doc 801 Filed 02/14/20 Entered 02/14/20 16:03:38   Desc
                         Main Document    Page 4 of 13
Case 9:19-bk-11573-MB   Doc 801 Filed 02/14/20 Entered 02/14/20 16:03:38   Desc
                         Main Document    Page 5 of 13
Case 9:19-bk-11573-MB   Doc 801 Filed 02/14/20 Entered 02/14/20 16:03:38   Desc
                         Main Document    Page 6 of 13
Case 9:19-bk-11573-MB   Doc 801 Filed 02/14/20 Entered 02/14/20 16:03:38   Desc
                         Main Document    Page 7 of 13
Case 9:19-bk-11573-MB   Doc 801 Filed 02/14/20 Entered 02/14/20 16:03:38   Desc
                         Main Document    Page 8 of 13
Case 9:19-bk-11573-MB   Doc 801 Filed 02/14/20 Entered 02/14/20 16:03:38   Desc
                         Main Document    Page 9 of 13
Case 9:19-bk-11573-MB   Doc 801 Filed 02/14/20 Entered 02/14/20 16:03:38   Desc
                        Main Document     Page 10 of 13
Case 9:19-bk-11573-MB   Doc 801 Filed 02/14/20 Entered 02/14/20 16:03:38   Desc
                        Main Document     Page 11 of 13
Case 9:19-bk-11573-MB   Doc 801 Filed 02/14/20 Entered 02/14/20 16:03:38   Desc
                        Main Document     Page 12 of 13
Case 9:19-bk-11573-MB   Doc 801 Filed 02/14/20 Entered 02/14/20 16:03:38   Desc
                        Main Document     Page 13 of 13
